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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------- x
                                                       :
 UNITED STATES OF AMERICA                              :
                                                       :
                    - v. -                             :            20 Cr. 412 (AT)
                                                       :
 BRIAN KOLFAGE, et al.,                                :
                                                       :
                            Defendants.                :
                                                       :
 ----------------------------------------------------- x




        MEMORANDUM OF LAW OF THE UNITED STATES OF AMERICA
    IN OPPOSITION TO DEFENDANT BRIAN KOLFAGE’S MOTION TO MODIFY
     POST-INDICTMENT RESTRAINING ORDER AND REQUEST FOR HEARING




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                                PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum of law in opposition to defendant

Brian Kolfage’s motion to modify a post-indictment restraining order (Dkt. No. 77 (“Mot.”)).

Kolfage’s attempt to challenge the post-indictment restraining order is meritless and should be

rejected. Moreover, Kolfage’s request to proceed ex parte to make the requisite showing regarding

a lack of alternative assets has no basis in law and should be denied.

                                   STATEMENT OF FACTS

       A. The Indictment

       On August 17, 2020, a grand jury sitting in this District returned a sealed Indictment

charging defendants Brian Kolfage, Stephen Bannon, Andrew Badolato, and Timothy Shea with

orchestrating a scheme to defraud hundreds of thousands of donors, including donors in the

Southern District of New York, in connection with an online crowdfunding campaign ultimately

known as “We Build the Wall” that raised more than $25,000,000 ostensibly to build a wall along

the southern border of the United States. (Dkt. No. 2 ¶ 1.) Specifically, the Indictment charges

the defendants with one count of conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349,

and one count of conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h).

(Id. ¶¶ 27-29, 31-33.) As described in the Indictment, between December 2018 and August 2020,

the defendants induced donors to contribute millions of dollars to the We Build the Wall campaign

through material false and fraudulent statements about the use of the funds and how no money

would go to Kolfage. (Id. ¶¶ 1-2, 8-25.)

       The Indictment included forfeiture allegations that provided notice that, upon the

conviction of one or more of the defendants, the Government intends to seek forfeiture of, among
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other things, any and all funds contained in three bank accounts held in the name of We Build the

Wall. (Id. ¶¶ 34(a)-(c).)

       On August 20, 2020, the Honorable Stewart D. Aaron, United States Magistrate Judge for

the Southern District of New York, unsealed the Indictment. (Dkt. No. 3.)

       B. The Post-Indictment Restraining Order

       On August 24, 2020, the Government filed, ex parte and under seal, an application and

affidavit in support of a post-indictment restraining order pursuant to 18 U.S.C. §§ 981, 982, 21

U.S.C. § 853, and 28 U.S.C. § 2461. More specifically, the application sought an order restraining,

among other things, all funds in three bank accounts listed in the Indictment’s forfeiture

allegations, all of which were held in the name of We Build the Wall (the “Accounts”). The

application and affidavit set forth, among other things, probable cause that any and all funds in the

Accounts are forfeitable as (i) proceeds traceable to the wire fraud conspiracy charged in

Count One of the Indictment and/or (ii) property involved in the charged money laundering offense

charged in Count Two of the Indictment, and the legal authority justifying the restraint of such

funds. That same day, this Court issued the post-indictment restraining order (the “Restraining

Order”), which it filed under seal. Pursuant to the terms of the Restraining Order, the Government

served the order upon the banks who maintain the Accounts.

       C. We Build the Wall and Kris Kobach’s Motion to Modify the Restraining Order

       On December 14, 2020, this Court denied a motion filed by non-parties We Build the Wall

and Kris Kobach requesting to (i) intervene, and (ii) challenge the Restraining Order on the ground

that it encompasses funds not subject to forfeiture, concluding that We Build the Wall and Kobach

are statutorily barred from doing so. United States v. Kolfage, No. 20 Cr. 412 (AT), 2020 WL

7342796, at *6 (S.D.N.Y. Dec. 14, 2020). In the course of denying the motion, this Court

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explained that “the Restraining Order does not prevent We Build the Wall from utilizing funds

obtained after the Restraining Order issued,” id. at * 10, such as the “over 4,000 pieces of mail”

potentially containing “additional donations” that We Build the Wall purportedly had received

between the issuance of the Restraining Order (Dkt. No. 67 at 2).

        Also on December 14, 2020, this Court unsealed the Restraining Order and filed it on the

public docket. (Dkt. No. 64.) The Government has produced copies of the application and

affidavit, which remain under seal, to all defendants in the Government’s production of discovery.

                                          ARGUMENT

        Kolfage’s attempt to challenge the Restraining Order—which is intended to safeguard

funds that will be subject to forfeiture following a conviction in this case—should be rejected.

First, Kolfage misstates the law that applies to the resolution of his motion. Specifically, his

reliance on United States v. Stein, 541 F.3d 130 (2d Cir. 2008) is misplaced, as that decision is

entirely inapposite, and the outcome of his motion is controlled by United States v. Monsanto, 924

F.2d 1186 (2d Cir. 1991) (en banc) and its progeny. Second, under Monsanto, Kolfage fails to

make the requisite showing that both he and We Build the Wall do not have sufficient alternative

assets to fund Kolfage’s counsel of choice. For these reasons, Kolfage’s motion should be denied.

        Kolfage further argues that, if he later elects to attempt to make a showing regarding his

and We Build the Wall’s finances, he should be permitted to do so ex parte. This extraordinary

request has no basis in law and should be rejected.

   I.      Kolfage’s Challenge to the Restraining Order is Meritless

           A. Applicable Law

        The Sixth Amendment provides that, “[i]n all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. Const. amend. VI.

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Although this provision guarantees to a criminal defendant the right of access to counsel, the “Sixth

Amendment right to choose one’s own counsel is circumscribed in several important

respects.” Wheat v. United States, 486 U.S. 153, 159 (1988); see also, e.g., United States v. Perez,

325 F.3d 115, 124-25 (2d Cir. 2003) (setting forth limitations on right to counsel of one’s choice).

Among other things, the Supreme Court has held, “[w]hatever the full extent of the Sixth

Amendment’s protection of one’s right to retain counsel of his choosing, that protection does not

go beyond the individual’s right to spend his own money to obtain . . . counsel.” Caplin &

Drysdale, Chartered v. United States, 491 U.S. 617, 626 (1989) (internal quotation marks omitted).

That is, there is “no Sixth Amendment right to spend another person’s money for services rendered

by an attorney, even if those funds are the only way that that defendant will be able to retain the

attorney of his choice.” Id.

        Applying that basic principle, the Supreme Court has held in no uncertain terms that

“neither the Fifth nor the Sixth Amendment to the Constitution requires Congress to permit a

defendant to use assets adjudged to be forfeitable to pay that defendant’s legal fees.” United States

v. Monsanto, 491 U.S. 600, 614 (1989). For similar reasons, restraining the assets in question

pending adjudication of the forfeiture claims—to ensure that such assets are not dissipated over

the course of the proceedings—raises no Fifth or Sixth Amendment concerns so long as there has

been a finding of probable cause to believe the assets are forfeitable. See id. at 615. “[I]f the

Government may, post-trial, forbid the use of forfeited assets to pay an attorney,” the Supreme

Court has explained, “then surely no constitutional violation occurs when, after probable cause is

adequately established, the Government obtains an order barring a defendant from frustrating that

end by dissipating his assets prior to trial.” Id. at 616.

        Following the Supreme Court’s decision in Monsanto, the Second Circuit held that,

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although the Government may obtain an ex parte pretrial order restraining potentially forfeitable

assets, a criminal defendant may be entitled to “an adversary, post-restraint, pretrial hearing” to

test the finding of probable cause. United States v. Monsanto, 924 F.2d 1186, 1203 (2d Cir. 1991)

(en banc), abrogated on other grounds by Kaley v. United States, 571 U.S. 320 (2014); see also

Kolfage, 2020 WL 7342796, at *10 (citing Monsanto, 924 F.2d at 1193-98). Specifically, the

Second Circuit held that “the fifth and sixth amendments, considered in combination, require an

adversary, post-restraint, pretrial hearing as to probable cause that (a) the defendant committed

crimes that provide a basis for forfeiture, and (b) the properties specified as forfeitable in the

indictment are properly forfeitable, to continue a restraint of assets (i) needed to retain counsel of

choice and (ii) ordered ex parte . . . .” Monsanto, 924 F.2d at 1203. In Kaley, the Supreme Court

clarified the scope of such a hearing, holding that a defendant is not entitled to challenge a grand

jury’s probable cause determination. 571 U.S. at 322.

       A defendant is only entitled to a Monsanto hearing if the restraint of the defendant’s assets

“actually affects the defendant’s right to choose counsel and present a defense.” United States v.

Bonventre, 720 F.3d 126, 131 (2d Cir. 2013). As a result, to warrant a Monsanto hearing, a

defendant must “demonstrate that he or she does not have sufficient alternative assets to fund

counsel of choice.” Id. at 128. “This requires more than a mere recitation; the defendant must

make a sufficient evidentiary showing that there are no sufficient alternative, unrestrained assets

to fund counsel of choice.” Id. at 131. Such a showing is necessary to procure a hearing

concerning restrained funds because “the defendant’s constitutional right to use his or her own

funds to retain counsel of choice . . . is not implicated unless the restraint actually affects the

defendant’s right to choose counsel and present a defense.” Id. “At the subsequent hearing, the

government . . . bear[s] the relatively modest burden of demonstrating probable cause to believe

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the assets are properly forfeitable.” Id. If the Government succeeds in making that showing, there

is no constitutional limitation on continuing the pretrial restraint—even if it effectively precludes

the defendant from retaining (or continuing to retain) counsel of his or her choice. See Monsanto,

924 F.2d at 1196.

           B. Stein is Inapplicable to Crime Proceeds Subject to Forfeiture

       In arguing that his inability to spend We Build the Wall’s restrained funds constitutes a

Sixth Amendment violation, Kolfage relies principally on United States v. Stein, 541 F.3d 130 (2d

Cir. 2008). In Stein, the district court dismissed the indictment against several employees of an

accounting firm because the government, in the course of a criminal investigation and prosecution,

pressured the firm to limit and condition the payment of its employees’ legal fees in order to

prevent the Government from indicting the firm. See United States v. Stein, 435 F. Supp. 2d 330

(S.D.N.Y. 2006). Affirming that dismissal of the indictment, the Second Circuit held that “the

Sixth Amendment protects against unjustified governmental interference with the right to defend

oneself using whatever assets one has or might reasonably and lawfully obtain.” Stein, 541 F.3d

at 156. Despite that general pronouncement, in the fifteen years since Stein, courts have limited

the decision to its facts and recognized that it “tested the outer limits of the Sixth Amendment’s

protection.” United States v. Fattah, 858 F.3d 801, 809 (3d Cir. 2017); see also United States v.

Fisher, 273 F. Supp. 3d 354, 362 (W.D.N.Y. 2017) (“since the Second Circuit decided Stein . . .,

no court appears to have relied on the case to find a Sixth Amendment violation”).

       Stein does not apply to funds subject to forfeiture, such as We Build the Wall’s funds

subject to the Restraining Order. Indeed, as the Second Circuit noted in Stein, “‘there is no Sixth

Amendment right for a defendant to obtain counsel using tainted funds. . . .’” 541 F.3d at 155

(quoting United States v. Farmer, 274 F.3d 800, 804 (4th Cir. 2001)). Unsurprisingly, every court

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to consider the application of Stein to a forfeiture or a restraining order has concluded that the

decision is inapposite because it concerned circumstances where there was no dispute that the

funds being advanced for employees’ legal expenses were not crime proceeds. See, e.g., United

States v. Bonventre, No. S2 10 Cr. 228 (LTS), 2011 WL 1197853, at *4 (S.D.N.Y. Mar. 30, 2011)

(where “unlike in Stein, the Government alleges that the funds used or sought to be used to pay

Defendants’ attorneys constitute or are derived from proceeds traceable to the commission of the

offenses charged. . . the Sixth Amendment would not be implicated because [it] ‘does not prevent

the government from reclaiming its property from a defendant’” (quoting Stein, 541 F.3d at 155));

United States v. Lacey, 378 F. Supp. 3d 814, 819-21 (D. Ariz. 2019) (distinguishing Stein because

in that case the government “never alleged the funds were tainted” and the reasoning of the case

“does not extend to lawfully seized funds”); United States v. Emor, 794 F. Supp. 2d 143, 147

(D.D.C. 2011) (“unlike the choice of the prosecutors in Stein to threaten KPMG and thus deter it

from paying the legal fees of its employees, the pretrial restraint of likely forfeitable assets is

legally and factually justified by goals unrelated to any desire by the government to interfere with

the payment of the legal fees of criminal defendants”). Rather, because the funds in question have

been restrained based on a probable cause finding that they are tainted, Kolfage’s request to access

them and vacate the Restraining Order is plainly governed by Monsanto. Cf. Bonventre, 2011 WL

1197853, at *6 (because Stein was inapplicable, proper remedy for the defendant would be a

Monsanto motion in the pending civil forfeiture proceeding).

       Moreover, beyond the fact that Stein is generally inapplicable to funds subject to forfeiture,

none of the facts relevant to the holding in Stein are present here. There is no allegation in

Kolfage’s motion that the Government discouraged We Build the Wall from paying for his

counsel. We Build the Wall is entirely free to use any funds not in the three restrained bank

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accounts identified in the Restraining Order. Nor has Kolfage alleged that We Build the Wall has

been pressured in any way to interfere with Kolfage’s choice of attorneys.

       Accordingly, Stein is not relevant to whether Kolfage may access restrained funds in

certain We Build the Wall bank accounts. 1 That question is governed by Monsanto and its

progeny. For the reasons set forth below, Kolfage has failed to make the requisite showing to

obtain relief under Monsanto.

            C. Kolfage Has Failed to Establish, as Required by Monsanto, That There Are No
               Sufficient Alternative, Unrestrained Assets to Fund His Counsel of Choice

       Where, as here, the Government obtains an order, based on a probable cause showing,

forbidding the use of forfeitable assets to, among other things, pay an attorney, “no constitutional

violation occurs.” Monsanto, 491 U.S. at 616. As noted above, to obtain a pretrial hearing to test

the Government’s probable cause showing, Kolfage must “demonstrate that he . . . does not have

sufficient alternative assets to fund [his] counsel of choice.” Bonventre, 720 F.3d at 131. This

“threshold showing” requires more than a conclusory affidavit or “mere recitation,” but rather

requires an “evidentiary showing.” Id. at 131; see also, e.g., id. at 133 (affirming denial of request

for Monsanto hearing because defendant “did not disclose his net worth, provide a comprehensive

list of his assets, or explain how he has been paying his significant living expenses”); United States

v. Daugerdas, No. S3 09 Cr. 581 (WHP), 2012 WL 5835203, at *2 (S.D.N.Y. Nov. 7, 2012)

(denying request for Monsanto hearing because defendant’s “motion is bereft of any sworn

declaration that he lacks the financial resources to hire counsel”); United States v. Egan,




       1
         Even if Stein were somehow applicable to Kolfage’s motion, he would still be required
to demonstrate that “he was denied access to funds to pay for his defense in [a] substantial sense”
and that he suffers from “a magnitude of financial deprivation” like “that experienced by the Stein
defendants.” United States v. Gordon, 710 F.3d 1124, 1138 (10th Cir. 2013).
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No. 10 Cr. 191 (JFK), 2010 WL 3000000, at *6 (S.D.N.Y. July 29, 2010) (“Because Defendant

has not submitted any evidence that suggests that the restrained assets are necessary to retain his

counsel of choice, his request for a Monsanto hearing is denied.”).

       Kolfage has failed to make a showing that he does not have sufficient alternative assets to

fund his counsel of choice. Kolfage asserts, without providing any evidence or details, that “it

would be a substantial hardship on me to secure other able and effective counsel in the case.”

(Kolfage Decl. (Dkt. No. 77-1) ¶ 5.) This is plainly inadequate, see Bonventre, 720 F.3d at 133;

Daugerdas, 2012 WL 5835203, at *2; Egan, 2010 WL 3000000, at *6, as Kolfage appears to

recognize (see Mot. 7 (“if this Court determines that Brian must make the threshold showing under

Bonventre, he is prepared to submit an affidavit”)).

       Moreover, Kolfage has also failed to make this threshold showing with respect to We Build

the Wall, which is the organization whose restrained funds he seeks to use to pay for his counsel

fees. Kolfage asserts, without providing any evidence or details, that We Build the Wall “cannot

make the $125,000 insurance retention payment . . . or any part of it.” (Mot. 3; see also Kolfage

Decl. ¶ 4 (“I understand that any funds available to [We Build the Wall] to cover the requisite

amount are currently subject to the Court’s post-indictment restraining order”).) This bare,

conclusory assertion is insufficient. This is especially so because, as this Court has recognized,

“the Restraining Order does not prevent We Build the Wall from utilizing funds obtained after the

Restraining Order issued.” Kolfage, 2020 WL 7342796, at *10. Kolfage makes no reference this

“additional source of funding,” id., which the organization previously described on December 15,

2020, as consisting of “over 4,000 pieces of mail” potentially containing “additional donations”

that We Build the Wall purportedly had received between the issuance of the Restraining Order.



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(Dkt. No. 67 at 2). To the extent We Build the Wall has untainted funds with which Kolfage may

obtain to fund his counsel of choice, he may not instead challenge the Restraining Order.

         Accordingly, Kolfage has failed to meet his burden, and his motion should be denied.

   II.      Any Subsequent Attempt to Demonstrate a Lack of Sufficient Alternative Assets
            Cannot Be Conducted Ex Parte

         Kolfage requests, without citation to any authority, that he be permitted to submit an

affidavit “ex parte . . . to show that he lacks sufficient alternative, unrestrained assets to fund

counsel of choice.” (Mot. 7.) The request for his submission to be made ex parte in the course of

this adversarial Monsanto proceeding is baseless and should be denied.

         “‘[E]x parte hearings are generally disfavored.’” United States v. Abu-Jihaad, 630 F.3d

102, 143 (2d Cir. 2010) (quoting United States v. Klimavicius-Viloria, 144 F.3d 1249, 1261 (9th

Cir. 1998)). In the analogous context of establishing eligibility for court-appointed counsel, the

Second Circuit has rejected the notion that defendants are entitled to ex parte proceedings for

appointment of counsel, explaining that “our legal system is rooted in the idea that facts are best

determined in adversary proceedings; secret, ex parte hearings are manifestly conceptually

incompatible with our system of criminal jurisprudence.” United States v. Harris, 707 F.2d 653,

662 (2d Cir. 1983) (internal quotation mark omitted); see also United States v. Hilsen,

No. 03 Cr. 919 (RWS), 2004 WL 2284388, at *8-11 (S.D.N.Y. Oct. 12, 2004).

         Kolfage makes no attempt to explain why an ex parte submission would be necessary,

much less lawful. (See Mot. 7.) Indeed, the Government is aware of no case in which it was not

permitted to discover the basis for and, if appropriate, to challenge a defendant’s claim that he

lacks sufficient alternative, unrestrained assets to fund counsel of choice. In Bonventre, for

example, the Government was afforded the opportunity to review—and successfully challenged—

the sufficiency of the defendant’s evidence. 720 F.3d at 132-33. This opportunity is especially
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important in this case, where the defendant has been charged with fraud and money laundering

offenses. The Court and the interests of justice will not be well served by permitting Kolfage to

hide from the Government’s view evidence of his or We Build the Wall’s purported lack of assets,

or by denying the Government an opportunity to respond to any such evidence. 2

                                        CONCLUSION

       For the foregoing reasons, Kolfage’s motion should be denied.

Dated: New York, New York
       February 18, 2021
                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     United States Attorney


                                              By:
                                                     Robert B. Sobelman
                                                     Nicolas Roos
                                                     Alison G. Moe
                                                     Assistant United States Attorneys




       2
          To the extent Kolfage may be concerned about keeping his financial circumstances
private, he may, if appropriate, redact certain publicly filed information pursuant to Rule 49.1 of
the Federal Rules of Criminal Procedure and/or seek permission to file under seal.
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